     Case 1:24-cv-00208-TKW-ZCB            Document 19        Filed 05/23/25      Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

JOSEPH MCNEW,

       Plaintiff,

v.                                                   Case No. 1:24cv208-TKW-ZCB

AMY BARRS, et al.,

     Defendants.
__________________________/

                                            ORDER

       This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 16). No objections were filed.1

       Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that this case should be

dismissed for failure to comply with court orders. Accordingly, it is

       ORDERED that:

       1.      The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.




       1
           Plaintiff may not have received the Report and Recommendation because the copy
mailed to her address of record was returned as undeliverable, see Doc. 17, as was the copy mailed
to another potential address located for Plaintiff, see Doc. 18. That, however, does not preclude
dismissal of this case because Plaintiff’s failure to keep the Court apprised of his current address
is an additional reason for dismissal because it is tantamount to a failure to prosecute.
    Case 1:24-cv-00208-TKW-ZCB          Document 19     Filed 05/23/25   Page 2 of 2




       2.        This case is DISMISSED without prejudice for failure to comply with

court orders.

       3.        The Clerk shall enter judgment in accordance with this Order and close

the case file.

       DONE AND ORDERED this 23rd day of May, 2025.




                                          __________________________________
                                          T. KENT WETHERELL, II
                                          UNITED STATES DISTRICT JUDGE




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